IN THE CHANCERY COURT FOR KNOX COUNTY, TENNESSEE
STXTH JUDICIAL DISTRICT AT KNOXVILLE

CITY OF MONROE EMPLOYEES’ Case No. 163762-3

RETIREMENT SYSTEM, On Behalf of

Itself and All Others Similarly Situated, CLASS ACTION

PLAINTIFF’S MEMORANDUM IN
SUPPORT OF ITS AMENDED MOTION
FOR EXPEDITED DISCOVERY

Plaintiff,
VS.

CTI MOLECULAR IMAGING, INC., et
al.,

Defendants.

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STATUTES, RULES AND REGULATIONS

Tennessee Rules of Civil Procedure
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i. INTRODUCTION

Absent court intervention, the shareholders of CTI Molecular Imaging, Inc. CTT’ or
the “Company”), a Delaware corporation headquartered in Knoxville, Tennessee, will be
forced, by midnight on April 28, 2005, to decide — without the benefit of information that
Delaware law’ specifically requires to be disclosed — whether to accept a patently inadequate
tender offer of $20.50 per share for their CTT shares (the “Proposed Acquisition”) by
Siemens AG (“Siemens”).

AS alleged in the Complaint, rather than complying with their duty to maximize
shareholder value, CTI’s directors agreed to the Proposed Acquisition to benefit themselves
and long-time business partner Siemens. Further to that end, on April 1, 2005, defendants
issued a materially defective and misleading Schedule 14D-9 recommendation statement to
CTI’s shareholders that fails to disclose critical information, including any information
whatsoever concerning the financial analyses performed by CTI’s financial advisor, Bear,
Stearns & Co., Inc. (“Bear Stearns”), in connection with the faimess opinion it presented to
the CTI board of directors (CTI Board”). This information must be disclosed under

Delaware law. See In re Pure Res., Inc., S’holders Litig., 808 A.2d 421, 449 (Del. Ch.

' See Bayberry Assocs. v. Jones, No. 87-261-II, 1988 Tenn. App. LEXIS 718 (Tenn. Ct.
App. Nov. 9, 1988), vacated, remanded, 783 8.W.2d 553 (Tenn. 1990) (applying the law of
the state of incorporation to shareholder’s fiduciary duty claims since “the relationships
among the... directors and stockholders . . . involve matters peculiar to corporations ....");
aecord Hicks v. Lewis, 148 8.W.3d 80, 86 (Tenn. Ct. App. 2003); Amberjack, Ltd. v.

Thompson, No. 02A01-95 12-CV-00281, 1997 Tenn. App. LEXIS 679, at #92-*24 (Tenn. Ct.

App. Oct. 7, 1997). Unless otherwise indicated, all emphasis is added and all citations are

omitted.

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2002); Alidina v. Internet.com Corp., No. 17235, 2002 Del. Ch. LEXIS 156, at *37 (Del. Ch.
Nov. 6, 2002).

Because the process and price of the Proposed Acquisition are unfair, plaintiff City of
Monroe Employees’ Retirement System intends to seek an order ~- prior to the expiration of
the tender offer at midnight on April 28, 2005 — enjoining the Proposed Acquisition. In
order to present as complete a record as possible to the Court on that injunction motion,
plaintiff needs to complete certain limited expedited discovery, as detailed more fully below.
Tennessee’s Rules of Civil Procedure (“Tenn. R. Civ. P.”) specifically permit its courts to
shorten the normal time for responding to discovery when fundamental notions of fairness so
require. See, e.g., Tenn. R. Civ. P. 30, 33 and 34.02. Given that CTI’s shareholders will be
irreparably injured if required to decide whether to tender their shares without the benefit of
all required material information, fundamental notions of fairness without question weigh
decisively in favor of defendants being required to make discovery available a few days or
weeks earlier than they otherwise will have to. Accordingly, plaintiff's motion for limited

expedited discovery should be granted.”

2 -~Plaintiff’s initial motion requested a different discovery schedule than the one
requested by this amended motion, and also sought a hearing date and briefing schedule on
plaintiff's anticipated motion fora preliminary injunction. However, given that the Court is
unavailable to hear the instant motion until April 18, 2005, and that a hearing date on
plaintiff's preliminary injunction motion has already been arranged, this amended motion
solely addresses the expedited discovery plaintiff seeks, which has been modified based on

the April 18, 2005, hearing date.

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I. RELEVANT FACTUAL SUMMARY

CTI, a Delaware corporation with its principal executive offices located in Knoxville,
Tennessee, is a manufacturer of positron emission tomography (“PET”) imaging equipment
and related molecular imaging products used in the detection and treatment of cancer,
cardiac disease and neurological disorders. See 48.° The Company’s product line for PET
includes scanners, cyclotrons, micro PET animal scanners, radio pharmaceuticals, detector
materials, medical image analysis applications and support services. Id.

On March 18, 2005, the Company issued a press release entitled “Siemens to Acquire
CTI Molecular Imaging.” On the same day, defendants filed a form 8-K with the Securities
and Exchange Commission (“SEC”) announcing the Proposed Acquisition and including a
copy of the agreement and plan of merger, certain stockholder support agreements and
amendments to a change in control agreement. On March 22, 2005, plaintiff filed this
action, seeking equitable relief against the members of the CTI Board and alleging breaches
of fiduciary duty in connection with the sale ofthe Company. Since the filing of plaintiff's
Complaint, events have taken place that have made the instant motion necessary.

Specifically, on April 1, 2005, defendants and Siemens filed with the SEC and
disseminated to CTI’s public shareholders Schedules 14D-9 and 14D-1 (the “Tender Offer
Documents”) purporting to explain certain aspects of the Proposed Acquisition, including,
among other things, defendants’ reasons for approving the Proposed Acquisition and

recommending that shareholders tender their shares to Siemens. However, the Tender Offer

; All“4__ and “__” references are to plaintiff's Complaint Based upon Self-Dealing
and Breach of Fiduciary Duty (“Complaint”), filed on March 22, 2005.

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Documents are materially deficient in that they fail to disclose, among other things, any
information at all concerning the analyses performed by CTl’s financial advisor, Bear
Stearns, in connection with the fairness opinion it presented to the CT Board. The Tender
Offer Documents also fail to disclose material information concerning defendants’ conflicts
of interest in agreeing to the Proposed Acquisition, including their roles with the Company
going forward and the substantial benefits to be received by them as a result of the
immediate vesting and exercisability of their otherwise unvested and/or unexercisable stock
options, restricted stock, stock units and warrants.

Counsel for plaintiff engaged in discussions with defense counsel on April 1, 2005,
and again on April 4, 2005, regarding whether defendants would agree to an expedited
discovery schedule. Defendants refused to do so, thus necessitating this motion.

I. LIMITED EXPEDITED DISCOVERY IS NECESSARY AND
APPROPRIATE UNDER THESE CIRCUMSTANCES

A. This Court Is Authorized to Grant the Expedited Discovery
Plaintiff Seeks

“(T]he course of pretrial discovery is, in large measure, left to the discretion of the
trial judge and . . . the exercise of this discretion is based upon the broad parameters of the
rules and fundamental notion of fairness.” Vythoulkas v. Vanderbilt University Hosp., 693
5.W.2d 350, 356 (Tenn. Ct. App. 1985); accord Willingham v. Shelby County Election
Comm’n, No. W2004-00230-COA-RB3, 2004 Tenn. App. LEXIS 825, at *7-*8 (Tenn. Ct.
App. Dec. 7, 2004) (recognizing the long standing rule that “decisions regarding pre-trial
discovery matters rest within the sound discretion of the trial court”). Furthermore,
Tennessee’s discovery statutes have expressly provided for expedited discovery where the

slower pace of normal pretrial discovery will prejudice the party seeking relief. For
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example, Tenn. R. Civ. P. 30, 33 and 34.02, each provide the Court with discretion to shorten
the normal time for discovery:

RULE 30: DEPOSITIONS UPON ORAL EXAMINATION

Rule 30.01: When Depositions May Be Taken.

After commencement of the action, any party may take the testimony of
any person, including a party, by deposition upon oral examination. Leave of
court, granted with or without notice, must be obtained only if the plaintiff
seeks to take a deposition prior to the expiration of 30 days after service of
the summons and complaint ....

RULE 33: INTERROGATORIES TO PARTIES
Rule 33.01. Availability; Procedures for Use.

_.. The party upon whom the interrogatories have been served shall
serve a copy of the answers, and objections if any, within 30 days after the
service of the interrogatories, except that a defendant may serve answers or
objections within 45 days after service of the summons and complaint upon
that defendant. The court may allow a shorter or longer time....

RULE 34,02: PRODUCTION OF DOCUMENTS [PROCEDURE]

¥ * #

The party upon whom the request is served shall serve a written response
within 30 days after the service of the request, except that a defendant may
serve a response with 45 days after service of the summons and complaint
upon the defendant. The court may allow a shorter or longer time....

Numerous Tennessee Appellate decisions also have recognized the right to and need
for expedited discovery. In Sunburst Bank v. Patterson, 971 S.W.2d 1 (Tenn. Ct. App.
1997), residents of Mississippi purchased a home in Shelby County and took out a mortgage
on the property with Sunburst. Because of a failure to file proper forms as to where the tax
bills were to be paid, a suit was eventually brought and the property was sold. The Bank and
the residents, who had first bought the house, brought suit and moved for and were granted
the opportunity to conduct expedited discovery, /d. at 2.

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In Willingham, 2004 Tenn. App. LEXIS 825, at *3-*4, the Court recognized that
discovery can easily be served and answered under a compressed time frame. In
Willingham, the discovery at issue was served and answered in less than ten business days.
Id.

Similarly, in Terminix Int'l Co., LP. v. Tapley, No. 02A01-9701-CH-00028, 1997
Tenn. App. LEXIS 546 (Tenn. Ct. App. Aug. 4, 1997), two employees of the plaintiff,
Terminix, who had signed covenants not to compete, resigned their employment and
subsequently started their own pet contro] business. Id. at *2. Terminix filed suit to enjoin
its former employees. On the same day the case was filed, the court granted expedited
discovery to all parties. Jd. at *2. And, depositions were scheduled within five days of
service of process. Id. at *3. Thus, it is well established that Tennessee courts can authorize
expedited discovery when necessary, as here, to avoid undue prejudice.

Delaware Chancery Courts, which deal regularly with issues involving corporate
acquisitions, routinely permit expedited discovery in actions like this one challenging a
corporate acquisition." As the court in American Stores Co. v. Lucky Stores, Ine., C.A. No.
97665, Allen, C., slip op. at 3-4 (Del. Ch. Apr. 13, 1988) (attached hereto as Exhibit A)
stated:

The granting of [an expedited discovery motion] is quite conventional in

litigation of this type for very good reason(s}. Cases involving contests for

corporate control are of necessity very fast-moving. Unlike the classic model
of litigation which those who formulated the rules no doubt had in mind, (i.e.,

‘ Although Tennessee procedural rules apply to plaintiff's claims, because CTI was
incorporated in Delaware, the substantive law of Delaware applies to plaintiff's claims, See

supra nl.

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a constellation of fixed, historical facts up which a claim is based), takeover
cases are fluid, constantly changing affairs, or almost so. In some instances,
the underlying subject matter of the suit ~ control of the corporation — may
itself be fully resolved before the time of taking depositions under Rule 30
may have arrived. Even in this context, plaintiff must show some reason
justifying departure from the sequence envisioned by the rules, but in this
context such a showing will be easier to make.

The presence of a transaction of some sort, a shareholders meeting, the closing
of a tender offer or the closing of some structural transaction (a
recapitalization, sale of substantial assets, etc.), is typically the reason in such
cases to permit expedited discovery. Here | am satisfied that there is
legitimate need for expedited discovery and will therefore order that plaintiff
may institute any discovery now contemplated by our rules.

American Stores, slip op. at 3-4; Jn re International Jensen Inc. S’holders Litig., C.A. No.
14992, Jacobs, V.C., slip op. at 2 (Del. Ch. July 16, 1996) (attached hereto as Exhibit B) A
party’s request to schedule an application for a preliminary injunction,.and to expedite the
discovery related thereto, is normally routinely granted. Exceptions to that norm are rare.”);
see also Harmony Mill L.P. v. Magness, No. 7463, 1984 Del. Ch. LEXIS 419, at *3-*5 (Del.
Ch. Feb. 14, 1984).

Likewise, numerous federal courts permit expedited discovery in similar
circumstances. See, e.g.; Ronson Corp. v. Liquifin Aktiengesellschaft, 483 F.2d 846, 848 (3d
Cir. 1973) (district court directed expedited discovery in a case involving allegations that
defendants made misrepresentations and omissions in connection with a tender offer); Mesa
Petroleum Co. v. Aztec Oil & Gas Co., 406 F. Supp. 910, 917 (N.D. Tex. 1976) (in a case
concerning a corporate acquisition offer, the court ordered that an expedited discovery
program be adopted), Grimes v. Vitalink Communications Corp., 17 F.3d 1553, 1555 (3d
Cir. 1994) (expedited discovery used in suit concerning allegations that the defendants

breached their fiduciary duties in approving a merger); Evmar Oil Corp. v. Getty Oil Co.,

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No. 76-4039-MMC, 1978 U.S. Dist. LEXIS 18957 (C.D. Cal. Mar. 17, 197 8) (in anticipation
of the hearing upon plaintiffs’ motion for a preliminary injunction restraming a merger,
expedited discovery, including the taking of more than 20 depositions, was conducted by the
parties); Horizon Corp. v. Anselmi, 483 F. Supp. 653, 655 (D.D.C. 1980) (expedited
discovery used where preliminary injunction was sought to enjoin defendants from soliciting
proxies from stockholders); Qwest Communications Int’l Inc. v. Worldquest Networks, Inc.,
213 F.RD. 418, 419 (D. Colo. 2003) (holding that a party may satisfy the “good cause”
standard to expedite discovery where the party seeks a preliminary injunction); McData
Corp. v. Brocade Communications Sys., 233 F. Supp. 2d 1315, 1316 (D. Colo. 2002)
(recognizing that the court had previously ordered expedited discovery to enable the court to
rule on the plaintiff's motion for preliminary injunction).

Here, plaintiff seeks limited expedited discovery in order to present as complete a
factual record as possible in support of its efforts to seek injunctive relief to protect CTI’s
public shareholders from being completely divested of their equity interests in the
Company’s stock without full disclosure of all material information. To prevent this
irreparable injury, plaintiff will seek a preliminary injunction until defendants have disclosed
to plaintiff and the class all material information in connection with the Proposed
Acquisition. The information disclosed to date concerning the Proposed Acquisition has
been materially deficient. Because the Siemens tender offer is to expire at midnight on April

28, 2005, the challenged transaction will be completed before plaintiff can obtain discovery

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through the normal course of litigation, good cause exists for expedited discovery.” Under
these exigent circumstances, the only possible way plaintiff and the other CTT public
shareholders can ensure that all material information is disclosed to them is if the Court
grants plaintiff the right to seek discovery on an expedited basis.

B, Defendants’ Breaches of Fiduciary Duty Warrant Expedited
Discovery

The need for expedited discovery is magnified here by defendants’ breaches of the
duty of candor and full disclosure. See, ¢.g.; Malone v. Brincat, 722 A.2d 5, 11 (Del. 1998)
(“The duty of directors to observe proper disclosure requirements derives from the
combination of the fiduciary duties of care, loyalty and good faith.”). The full disclosure
obligation attaches specifically to proxy statements and any other disclosures in
contemplation of stockholder action. Stroud v. Grace, 606 A.2d 75, 85 (Del. 1992). In
connection with mergers and/or tender offers, “[s ]hareholders are entitled to be informed of
information in the fiduciaries’ possession that is material to the fairness of the price.”
Eisenberg v. Chicago Milwaukee Corp., 537 A.2d 1051, 1059 (Del. Ch. 1987). This
obligation is enforced “[w hen the directors of the tender target company communicate with
the shareholders, for example, through a Schedule 14D-9,” and requires them to, “while
complying with their ever-present duties of due care, good faith and loyalty, communicate
honestly.” In re Siliconix Inc., S‘helders Litig., No. 18700, 2001 Del. Ch. LEXIS 83, at *36

(Del. Ch. June 19, 2001). Indeed, courts have voiced a “strong preference” for enjoining a

° Pursuant to Tennessee Rules of Civil Procedure, defendants’ responses to plaintiff's
document requests will not become due until May 16, 2005.

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merger prior to it being consummated, rather than trying to ““unscramble the eggs’” after a
merger is approved. Med. Imaging Ctrs. of Am., Inc. v. Lichtenstein, No. 96-0039-B(AJB),
1996 U.S. Dist. LEXIS 22362, at *12 (S.D. Cal. Feb. 29, 1996); ODS Techs., LP. v.
Marshall, 832 A.2d 1254, 1262 (Del. Ch. 2003) (court held that it is appropriate to address
material disclosure problems through the issuance of a preliminary injunction that persists
until the problems are corrected to avoid having to “‘unscramble the eggs”” after the vote).

In this case, defendants’ disclosures in the Tender Offer Documents concerning the
Proposed Acquisition have been materially deficient because, among other reasons, they: (1)
have failed to include any information concerning the underlying analyses performed by the
Company's financial advisor, Bear Stearns, in connection with the rendering of its fairness
opinion: and (ii) have failed to disclose material information regarding the financial windfall
to defendants from the immediate vesting and exercisability of otherwise unvested and
unexercisable stock options, restricted stock, stock units and warrants as a result of the
Proposed Acquisition. This type of information is routinely disclosed in merger-related
documents because, as Delaware courts have held, without such information, shareholders
are unable to determine the adequacy of the price and process of the offer. See Pure Res.,
808 A.2d at 449: Alidina, 2002 Del. Ch. LEXIS 156, at *37.

In Pure Resources, for instance, the court noted that “courts must be candid in
acknowledging that the disclosure of the banker’s ‘fairness opinion’ alone and without
more, provides stockholders with nothing other than a conclusion, qualified by a gauze of
protective language designed to insulate the banker.” 808 A.2d at 449. Likewise, in

Alidina, the court quoted Pure Resources in stating that “‘stockholders are entitled to a fair

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summary of the substantive work performed by the investment bankers upon whose advice
the recommendations of their board as to how to vote on a merger or tender rely.”” 2002
Del. Ch. LEXIS 156, at *37.

Here, just as in Pure Resources and Alidina, CT)’s public shareholders will be unable
to determine what value, if any, to place upon the fairness opinion issued by Bear Sterns
unless defendants disclose information about the underlying analyses performed by their
advisors. Without this material information, and the full-information regarding the insiders’
financial conflicts, CTI’s public shareholders cannot make a fully-informed decision whether
to tender their shares.

Similarly, Delaware law requires that defendants fully disclose the material
information regarding the CTI insiders’ financial conflicts of interest. Zirn v. VLI Corp., 681
A.2d 1050, 1056 (Del. 1996) (“[i]n addition to the traditional duty to disclose all facts
material to the proffered transaction, directors are under a fiduciary obligation to avoid
misleading partial disclosures”). By disclosing that defendants will receive the immediate
vesting and exercisability of otherwise unvested and unexercisable stock options, restricted
stock, stock units and warrants as a result ofthe Proposed Acquisition, without disclosing the
amounts of these benefits, defendants have made a materially misleading partial disclosure.

Accordingly, these disclosure deficiencies warrant the granting of plaintiff's request

for expedited discovery pursuant to the schedule proposed below.

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IV. THE LIMITED EXPEDITED DISCOVERY PLAINTIFF SEEKS

Plaintiff requests that the Court grant: (i) expedited document production; and (ii)
expedited depositions.° Plaintiff respectfully submits that an appropriate schedule would be
as follows:

1. By the time the instant motion is heard on April 18, 2005, defendants will have
been on notice for nearly two weeks regarding the limited categories of documents sou ght by
this motion and should therefore have had ample time to gather those documents to gether in
the event that the Court grants this motion. Accordingly, by the close of business on April
18, 2005, defendants should produce the following documents from January 1, 2004 (except
as otherwise noted) to the present:

(a) CTI’s Board and committee meeting minutes with attachments and
materials reviewed at the meetings, insofar as the materials relate to the Proposed
Acquisition (or any other offer or merger), employment agreements, stock options, restricted
stock, stock units, and warrants in CTI stock held by defendants and/or their affiliates;

(b) All materials given to or received from any of CTI’s or Siemens’
financial advisors relating to the Proposed Acquisition or the potential acquisition of or

business combination with any other possible acquirer of CTI;

6 The expedited discovery plaintiff seeks by this motion will be limited in purpose and
conducted under time constraints. Accordingly, plaintiff requests that any discovery ordered
by this Court be without prejudice as to its rights to conduct further discovery should it

become necessary in the future.

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Case 3:05-cv-00204 Document 1-3 Filed 04/15/05 Page 17 of 34 PagelD #: <pagelD>
(c) Computer printouts summarizing to date the CTI executives’ and
directors’ options holdings, options exercised, options vested and not vested, option grant
dates, option vesting schedules, and option prices;

(d) All documents concerning any business or personal relationships,
affiliations, or ownership interests by or between any CTI directors (or entities with which
any CTI directors are associated), Siemens, or any company in which Siemens has or had
any ownership interest within the last five years;

(e) Monthly and quarterly executive packages or any other documents
containing CTI’s historical and projected operations and financial performance;

(f) All materials relied upon by defendants or in their possession
concerning: (i) whether the Proposed Acquisition is fair to CTI’s shareholders from a
financial point of view; (ii) any potential acquisition of or business combination with any
other entity; and (iii) CTI’s current and future finances;

(g)  Allcommunications between defendants, defendants’ financial advisors,
and/or any other entity expressing interest in acquiring CTI, and all communications to or
from defendants concerning any potential acquisition of or business combination with any
other entity; and

(h) Any employment agreements, severance packages and/or change-in-
control agreements (and any amendments thereto since CTT’s last proxy statement) with CTT,
Siemens or any related entity concerning defendants or CTI executives.

2. Defendants should make the following persons available for deposition
(limited to four hours each) between the dates of April 20, 2005 and April 22, 2005:

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(a) Ronald Nutt, Ph.D.;

(b) Terry D. Douglass, Ph.D.; and

(c} The person most knowledgeable at Bear Stearns concerning the
Proposed Acquisition.

Vv. CONCLUSION

In sum, given the time constraints in this action, the material information that
defendants have failed to disclose to CTI’s public shareholders, and the irreparable injury to
those shareholders that will result absent judicial intervention, plaintiff respectfully requests
that the Court grant plaintiff's motion for limited expedited discovery as set forth herein.

DATED: April 7, 2005 Respectfully submitted,

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DAN D. RHEA

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Case 3:05-cv-00204 Document 1-3 Filed 04/15/05 Page 19 of 34 PagelD #: <pagelD>
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‘Attorneys for Plaintiff

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and exact copy of the foregoing has been
sent, via facsimile and U. S. Mail, postage prepaid, to the following parties in interest this

7th day of April, 2005.

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Case 3:05-cv-00204 Document 1-3

Dan D. Rhea

-15-
Filed 04/15/05 Page 20 of 34 PagelD #: <pagelD>
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WIT haANRELLOS

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Re:

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Strate or DELAWARE

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July 16, 1996

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Wilmington, DE 19899

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Lewis H. Lazarus, Esquire
Morris, James, Hitchens &
Williams

222 Delaware Avenue
Wilmington, DE 19801

In Re International J ensen Incorporated

Shareholders Litigation
Consolidated Civil Action No. 145992
Date Submitted: July 13, 1996

Gentlemen:

The plaintiffs have moved for an order expediting the discovery, and

scheduling a heafing on their application for a preliminary injunction, on the claims

alleged in their Consolidated Class Action Complaint. ‘That motion was heard

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yesterday

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All Counsel

July 16, 1996

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in an extended office conference, Having considered the arguments presented by counsel
at the conference and in their earlier written submissions, the Court conchides that the
motion should be denied,

A party’s request to schedule an application for a preliminary injunction,
and to expedite the discovery related thereto, is normally routinely granted. Exceptions
to that nom are rate. A paradigm exception, however, arises where it is clear that the
transaction or event sought to be enjoined will not result in isreparable harm because any
wrongful conduct can be adequately remedied by a money damages award. The
defendants argue that this is such 2 case, and I agree.

At issue here is the decision by the directors and majority stockholders of
International Jensen, Incorporated ("Jensen") to approve and vote for certain transactions
in which Recoton Corporation ("Recoton") would acquire Jensen in 2 merger, and
defendant Robert G. Shaw, Jensen's Chairman and CEO ("Shaw"), would acquire a
certain -segment of Jensen’s business known as the "OEM business", In that transaction,
Jensen's public (minority) shareholders would receive $11 per share for their stock, and
Jensen’s majority shareholders (Mr. Shaw and an affiliate of William Blair & Company,

L.L.C.) would receive $8.90 for their shares.
The gist of the plaintiffs’ complaint is that a competing bidder, Emerson
Radio Corp. (“Emerson”) was willing to pay a higher price for Jensen (including the OEM
business) -- specifically $12 per share to the public stockholders — and that by not

approving the Emerson bid, the defendants violated their fiduciary duties of loyalty and

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All Counsel

July 16, 1996

Page 3

care to Jensen’s public stockholders. As a consequence, defendants claim, Jensen's public
stockholders stand to lose the benefit of the $1 per share higher Emerson offer,
representing a-total benefit to public shareholders of over $2.1 million. Accordingly, the
plaintiffs ask this Court to prohibit the consummation of the Recaton transaction, and to
direct the defendants (including those who control a majority of Jensen's stock and oppose
Emerson's offer) to approve the Emerson proposal.

‘The defendants argue that no basis exists in law or equity to order a
corporation's majority stockholders to vole for a transaction that they oppose, I note that
argument but do not address it, because it is clear that what the plaintiffs here are really
seeking is the $1 per share difference between the Emerson and Recoton proposals.
Because plaintiffs make no claim or showing that the defendants would be unable to

respond to a $2,1 million money judgment, there is no reason ~~ equitable or economic -~
to subject’ the defendants to the expense and disruption of an expedited preliminary
injunction proceeding. If, as the plaintiffs claim, the Recoton transaction is the product
of a breach of fiduciary duty, that can be established in, and fully rectified after, a post-
transaction final hearing.

‘The plaintiffs advance several reasons why that not so and why, in their
view, this case pases a threat of irreparable harm that only an injunction can remedy.
First, they argue that the Recoton merget, if allowed to proceed, cannot be undone at a

later time because nights of third parties and other structural changes will have intervened,

That may be true, but it is also true of the Emerson proposal which the plaintiffs fully

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All Counsel

July 16, 1996

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endorse. More importantly, the structural alteration aspect of the Recoton transaction is
not a feature of which the plaintiffs complain. Their objection goes to the price.

Second, the plaintiffs contend that if they are precluded from seeking
injunctive relief, they could be left with no remedy at all. That is because {plaintiffs
argue) (i) they have alleged breaches of both the duties of loyalty and care and (ii) should
the Court reject their duty of loyalty claims, po recovery would be available on the duty
of care claims, because Jensen’s charter contains an exculpatory clause modeled after 8

Del. ©, §102(b)(7). This argument elides over the essence of plaintiffs’ complaint, which

is that the defendants have disloyally favored one bid (Recoton’s) over a superior bid

Emerson’s).. As previously noted, as to that claim no injunctive relief is needed because
damages would make the public shareholders whole. The plaintiffs do not explain why,
as a legal matter, the addition of an alternative due care claim attacking that same conduct
alters the analysis. If their suggestion is that an injunction application must always be
entertained to protect a due care claim in cases involving corporations having §102(b))7)
exculpatory charter clauses, a far more adequate; legally supported presentation would be
needed to be persuasive than has been made here.

Finally, the plaintiffs argue that even if the mandatory relief they seek

(compelling approval of the Emerson deal) is problematic, the prohibitory relief they
request (haljing consummation of the Recoton deal) is not, and that this latter request for
injunctive telief alone merits the scheduling of their application. The reason, plaintiffs

say, is that they allege thar the auction process that resulted in the present Emerson and

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All Counsel

July 16, 1996

Page §

Recoton bids was highly flawed. That being the case (they suggest), only an injunction
will afford an adequate remedy, since a new bidding contest is required and that because
no one can predict the outcome of a new auction (which might resuit in a bid differential
higher-or lower—than $1 per share}, the precise extent of money damages could not be
ascertained.

This argument, while adequate on a purely theoretical level, was not made
in the plaintiffs’ papers and ignores the reality of this case and the contents of the
plaintiffs’ own pleading, The complaint does allege that the auction process was flawed,
but it does not seek an order requiring the parties to start anew, The thrust of the
“tainted-auction” claim is that the Recoton transaction must be enjoined so that the
Emerson proposal can proceed. Nor is this a case where the unsuecessful bidder (here,
Emerson) is in court seeking injunctive relief to compel a new auction and claiming that
it is prepared to bid more than the successful bidder. Compare Mills Acauisition Co, v.
MacMillan, Ine., Del. Supr.,’ 559 A.2d 1261 (1988). Indeed, nothing in the complaint
suggests that a new auction would result in any new bidders or offers higher than those

being made by Emerson and Recoton -- which themselves are the end result of ‘a highly

contested auction process. This effort by plaintiffs to recharacterize their claims must be

rejected.

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Page 6

* *

For the above reasons, the motion to expedite is denied, IT IS SO

Very truly yours,
Cue & bpd

ORDERED.

ce: Register in Chancery

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Apral 13, 1983

Stephen P. Lamb. Esquire

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Meagher & Plom

FP. @. Box 635

@{imingtoa. Delaware 153499

hawrence A. Hamermesh, Zsquire

Morris, Nictels, Arskt & Tumnell

PP. &. Bou 1347 a
wilaingtca, Deleware 198959

Re: American Stores Company v. Lucky Stores,
Ync., et al,, Civil Action No. 37456

Sear Counsel: .
Plaiatiff# has moved te amend and supplement itz complaiat

so assert, joter alia. claims arising from the April 7. 1584
adoption of a se-called "poison pill rights ‘plan* by defendaa:
Lucky Stores, Ine. ("Lucky*). This plan is alleged te const:-
tute an unreasonable response to plaintiff's currently out~
standing tender offer for wp to all of the sharea of Lucky.
which offer is said in the gropesed pleading to be noa-coer-
cive, Mere generally, the complaint alleges that the defer-
dants have engaged in a series of acts designed to entrench
the existing board in office for selfish reasons.

The relief seught Lneludes orders (1) directing defer-
fants te negotiate with plaintif? ia geed faita concerning its

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“4eSers. Lams and Hamermesh
Page 2 .
April 13, 1988

prepesed acquisitiea ef control of Lucky. (2) enteining che
oparation of tha rights pian, (3) sequisiag che ‘individual
gafandants to take rusk beard action as ‘s necessary ‘5 exertz
the surreat tencer offer from tha speration of @ rel. c. §
203, and (4) enjoining "any other defensive action to prevent
cenmummation ef plaiatif¢f‘s tender offer,"

Pisintiff has alse moved for an order yermitting the
taking of expedited discovery.

Both of ‘these motions are resisted, the first on the
basis that the amanded complaint fails to state a clain, and
the secesd an the basis that to permit discovery now will
inappropriately interfere with thea board's carryiag aut af its
fespensibility to manage the ‘Susiness and affairs, of the
Corperation. TAis is said ta be the case because discovery
now will divere the beard and its special advisors fran the
demanding task of ereatiog and evaluating alternative forms of
transactions thet might be nore beneficial to shareholders
than the plaintif!'s proposal, and because discovery now will
inevitably involve attempts to learn information regarded by
the board as confidential, including information relating to
alternative transactions that are acw, apparently, seing
actively pursued,

t will grant the mation to file the Second Amended and

Supplemental Complaint. Our rule directs that Leave <6 fila

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Messrs. Lamb and Hamermesh
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such a gleadiag should “te Zraely given when ‘tuscica ss.
requires.” Rule iS(a}. Here there is 35 substantial ela:.
that defendants would be prejudiced by allowiag the emasdmen:.
The case has saly begun and thare cmild ce so rich sreiudice.
the argument that (s made — that the amerded pleading fait:
"a state aciaim —- might in some circumstances provide
basis to deny & motion tm amend. There aso casagz, althcug!
hone in this furisdiction that have baen <citad tame, disal-
lewiag an amendmeat cf such ground, ta tha usual czsa,
however, ‘the bettar practica is. to permit the stendmant. wheres
there is oo substantial srejudice to defandants la doing sc,
and ta pass upea the legal vufficiancy of the mnended pleading
on a motion under Rule 12.

Thus, the granting of this motios wtil net conatitute a
puling fer purposes of thia case on the issue ef the legal
sufficiency of the amended pleading, which issus defeadants
have attempted to raise ocr. .

AB tS the motion for expedited discovery, the granting of
such motion 4s quite conventional in litigatien of this type
for vary geocd resses. Cases involving cantasts for cerpercata
fentrol are of neceasity very fast-moving. Unitke the clasgic
model of litigation which those who formated the rules cco
Goubt had im mind, (i.a.. a constellation of fixed, historical

facts upon which a claim is based), takeover cases sce fluid.

Case 3:05-cv-00204 Document 1-3 Filed 04/15/05 Page 29 of 34 PagelD #: <pagelD>
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April 13, 1984

constantly changing affairs, or almest so. ZA seme jastances.
the underlying subject matter of the suit -—~ comtrsi of «the
cOrssration — may itself Se fully resolved tefsre tre tine sf
taking dapesitions under Rule 35 may have arrived. iven ts
shis context, plaintiff’ must show some vaason ‘ustifying
departure from the sequence envisioned by the rules. but in
this context such a showing wilt be easier to make,

The presence cf 4 transaction of some wort, a sbarehold-
erg meeting, the closing eof a tandar offer or the closing of
gome structural transaction (a .retapitelization, sale of
wobstantial agset3, etc.j}. ig3 typically the reasen ia such
Casem to permit expedited discovery. Here I am satisfied that
thace is lagitimate need for expedited discovery and will
therefore order that plaintiff may institute any discovery row
contemplated by cur rules.

Discovery in thiz setting does seam inevitably to iavolve
what hea come tq be culled the white knight privilege. The
principles that apply to invocations of suck a "privileges have
mean fairly stated by the court in a sumber of rulings town
tc counsel. The difficulty in each instance is act /5 articu-
lating the considerations tut in drawing a line. 14 that
respect. t can add that the document disecevery requests

currently oa file certainly cover areag in which I would

quickly sustain assertion of that “privilege. *

Case 3:05-cv-00204 Document 1-3 Filed 04/15/05 Page 30 of 34 PagelD #: <pagelD>
Messrs. Lamd and Hamermesh
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More than this 2 need ast acw Say, except that Io will
expect besh sides to attempe iA geed faith toa apply <hne
principles set forth in earlier suliags ia this court and
elsewhere in order to work out these questions of the specific
scope of discovery. There should be more cemminicatics
betweea counsel than there seems to have bean here on ‘the
subject of discovery, Cefeore an Spplicatica of <his kind is
presented. <was surprised, for example, that when counsel
brought this matter to the court, seither side could autheri-
tatively report on the status of negotiations concerning a
confidentiality-standstill agreement. ‘

I will direct counsel to confer on er before April 14 and
te meet far sa leng as is productive in an attempt to segree
upon a schedule for thse preductios ef documents and the taking
of depositions, ineluding third party depositicas.  cther
relevent topics such as ‘the scopes ef production that will
voluntarily be made should also be addreswed. Defendants
should commence the work secessary to respond promptly ‘<6
those production requssts that appear to be non-controversial,
go that such production may be made to plaintif? ne later than
5:00 p-m. om April 5th.

. follewing such conference, Tf will be avatlable to sula

upen any pectinent discovery problems that the partiss have

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nQt Seen able to resolve. i am hopesut that Ac such reques:.
@il. be secessary.

Tt is tereby crdered chat plaintifl may institute acy
discovery autsorized by thea Ruleg of the Court of Chancery

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Case 3:05-cv-00204 Document 1-3 Filed 04/15/05 Page 32 of 34 PagelD #: <pagelD>
IN THE CHANCERY COURT FOR KNOX COUNTY, TENNESSEE

CITY OF MONROE
EMPLOYEES’ RETIREMENT
SYSTEM, On Behalf of Itself

and All Others Similarly Situated,

Plaintiff, Civil Action No: 163762-3

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CTI MOLECULAR IMAGING, )
INC., RONALD NUTT, TERRY )
D. DOUGLASS, WOLF-EKKEHARD |)
BLANZ, ROY DOUMANI, JAMES )
R. HEATH, LEROY HOOD, )
HAMILTON JORDAN, WILLIAM )
MCINNES and MICHAEL E. )
PHELPS )
)

)

Defendants.

NOTICE OF APPEARANCE

Please take notice that John A. Lucas and the firm of Hunton & Williams LLP enters an
appearance as counsel for Defendants CTI Molecular Imaging, Inc., Ronald Nutt, Terry D.
Douglass, Roy Doumani, James R. Heath, Leroy Hood and Hamilton Jordan in this action.

Please serve all pleadings, motions, orders, correspondence and other documents in this
action upon counsel at the following address:

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By: ~ j 2
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(865) 549-7700 (telephone)
(865) 549-7704 (facsimile)

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of Notice of Appearance has been served

upon the following via United States mail, postage prepaid, on this 8th day of April, 2005:

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(619) 231-1058
(619) 231-7423 (fax)

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